Case 2:14-cv-02057-SMM   Document 224-5   Filed 10/19/17   Page 1 of 4
Case
 Case2:14-cv-02057-SMM
       2:14-cv-02057-DGC Document
                         Document 224-5  Filed
                                  12-1 Filed   10/19/17Page
                                             12/03/14    Page
                                                            6 of214
                                                                  of 4
Case
 Case2:14-cv-02057-SMM
       2:14-cv-02057-DGC Document
                         Document 224-5  Filed
                                  12-1 Filed   10/19/17Page
                                             12/03/14    Page
                                                            7 of314
                                                                  of 4
Case
 Case2:14-cv-02057-SMM
       2:14-cv-02057-DGC Document
                         Document 224-5  Filed
                                  12-1 Filed   10/19/17Page
                                             12/03/14    Page
                                                            8 of414
                                                                  of 4
